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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
                                                §
VS.                                             §   CRIMINAL NO. H-07-509
                                                §
                                                §
DELIS YUVINE REYES                              §
WILLIAM REYES-MATAMOROS                         §


                                          ORDER

              Defendant Reyes filed an unopposed motion for continuance, (Docket Entry

No. 30). The codefendent and the government are unopposed to the continuance. The court

finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendants in a speedy trial. The motion

for continuance is GRANTED. The docket control order is amended as follows:

       Motions to be filed by:                      March 21, 2008
       Responses to be filed by:                    April 4, 2008
       Pretrial conference is reset to:             April 14, 2008, at 8:45 a.m.
       Jury trial and selection are reset to:       April 21, 2008, at 9:00 a.m.


              SIGNED on January 25, 2008, at Houston, Texas.


                                         ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
